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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION
UNITED STATES OF AMERICA           )
                                   )
v.                                 )          CR417-050
                                   )
JOSHUA SCOTT                       )

                                 ORDER

      The Court entered an Order granting the Government’s various

requests in limine to constrain the evidence defendants may offer at

trial. Doc. 175. In that Order, the Court found that testimony from Dr.

Allyson Wood, a Bureau of Prisons psychologist who examined Scott, is

properly excluded to the extent that it implicates an insanity defense or

his mental condition bearing on his guilt. Id. at 3-4. That testimony is

properly excluded because defendant failed to provide the notice required

by Fed. R. Crim. P. 12.2(a) and (b). Id. Scott now moves the Court to

reconsider that ruling, either because the testimony is relevant to a

defense (duress) that does not implicate Rule 12.2 or because his instant

motion provides adequate notice. See doc. 176 at 1-2. The Government

opposes. Doc. 177.

      Reconsideration of the Court’s prior Order is not necessary.

Pretermitting whether the motion provides (or could provide) adequate
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notice under Rule 12.2, duress does not implicate Scott’s mental

condition. “The defense of duress ‘requires that the defendant prove

[1] that he acted under an immediate threat of death or serious bodily

injury, [2] that he had a well-grounded fear that the threat would be

carried out, and [3] that he had no reasonable opportunity to escape or

inform [the] police.’” United States v. Hansen, 563 F. App’x 675, 677-78

(11th Cir. 2014) (quoting United States v. Flores, 572 F.3d 1254, 1266

(11th Cir. 2009)).   To the extent that the defense requires a “well-

grounded” fear, it “assumes that the fear is rooted in something other

than the defendant’s subjective conjectures about something constituting

a threat.   [Cit.]   Additionally, the language assumes that a threat

objectively existed in reality and was not derived from the defendant’s

subjective belief that something constituted a threat.” Id. at 678

     Given the objective character of a duress defense, it does not

implicate Rule 12.2. See United States v. Bell, 855 F. Supp. 239, 242-243

(N.D. Ill. 1994) (quoting United States v. Bailey, 585 F.2d 1087, 1111

(D.C. Cir. 1978)) (discussing the conceptual basis of a duress defense and

concluding, because it “is not that the defendant, faced with the

unnerving threat of harm unless he does an act which violates the literal

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language of the criminal law, somehow loses his mental capacity to

commit the crime in question,” Rule 12.2 does not apply “by definition”);

see also id. at 241 (because “the duress defense, while implicating

defendant’s state of mind, does not involve a defendant’s mental

capacity,” the Government’s motion for a mental examination was

properly denied by the magistrate).

      The Court’s Order was clear that the Government’s motion was

granted “[t]o the extent that Scott intends to solicit testimony from Dr.

Wood for any purpose covered by Rule 12.2.” Doc. 175 at 4 (emphasis

added). To the extent that the ruling requires the Court to draw the

negative implication, Dr. Wood’s testimony is not precluded for any

purpose other than those implicating Rule 12.2.1 Accordingly, Scott’s

motion is DENIED. Doc. 176


1
  The parties’ positions are simply not sufficiently articulate for the Court to draw
the further conclusion it suspects Scott wants, i.e., that Dr. Wood’s testimony is
positively admissible. As discussed above, the elements of a duress defense are
objective. Thus, it is not clear how Dr. Wood, as a psychologist who examined Scott
long after the alleged criminal acts took place, could provide relevant non-cumulative
testimony. However, the Court will not anticipate the parties’ arguments in that
regard. The Government’s response in opposition to this motion provides some
further indications (based on Dr. Wood’s report of communications with defense
counsel) of the nature of the testimony Scott proposes to solicit from Dr. Wood. See
doc. 177 at 2. The Court will not, however, undertake to determine admissibility
based on third-hand reports of Scott’s intent. It is clear that, in some circumstances,
expert testimony might be relevant to a duress defense. See Bell, 855 F. Supp. at 243
(“Expert testimony may be used in conjunction with a duress defense.”). Whether
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      In addition to opposing Scott’s reconsideration motion, the

Government also seeks to quash a subpoena it represents defense counsel

e-mailed to her. Doc. 177 at 2 (“Dr. Wood stated that she was e-mailed a

trial subpoena from the defendant . . . .”). Pretermitting any of the

Government’s other objections to the subpoena and whether it is the

proper party to seek quashal, it is clear that service by email is

ineffective. As this Court has explained:

      The Federal Rules of Criminal procedure require a party serving
      a subpoena to (1) deliver a copy of the subpoena to the witness
      ....    Courts have recognized that ‘there must be strict
      compliance with the rules for service of a subpoena.’ See
      25 Moore’s Federal Practice § 617.05 [4] (3d ed. 2005; 2 Charles
      A. Wright, Federal Practice and Procedure § 276 (3d ed. 2000).
      Since the rule requires delivery of a copy of the subpoena ‘to the
      witness,’ ‘[p]ersonal service is required.’” 25 Moore’s Federal
      Practice § 617.05 [2].

United States v. Bradley, 2006 WL 8429685 at * 1 (S.D. Ga. March 16,

2006). E-mail does not constitute personal service. See Bonnecaze v.


this is such a case, and (if it is) whether the Government might assert some other
objection (such as Scott’s failure to comply with the requirements to subpoena a
Department of Justice employee, pursuant to United States ex rel. Touhy v. Ragen,
340 U.S. 462 (1951)), depends upon arguments that simply have not been made.

   In that regard, the tenor of Scott’s argument in this motion and the Government’s
response leaves the Court concerned that further briefing will be forthcoming. To
avoid disrupting the trial’s scheduled start on Monday, May 14, 2018, any further
argument in favor of Dr. Wood’s testimony must be made before 9:00 a.m. EDT on
Thursday, May 10, 2018. Any response by the Government must be filed no later
than 5:00 p.m. EDT on that date.
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Ezra & Sons, LLC, 2016 WL 1268339 (E.D. La. March 31, 2016); see also

S.E.C. v. Art Intellect, Inc., 2012 WL 776244 at * 3 (D. Utah March 7,

2012) (citing Bank of Oklahoma, N.A. v. Arnold, 2008 WL 482860 at * 3

(N.D. Okla. Feb. 20, 2008)) (“A subpoena under Rule 45 is not properly

served by email or fax, but must be served personally.”).                The

Government’s motion to quash the subpoena is, therefore, DENIED as

moot.

     SO ORDERED, this 9th day of May, 2018.




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